Saceegta

Case 2:11-cr-00245-CCC Document 37 Filed 05/21/12 Page 1 of 6 PagelD: 47

AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
District of New Jersey

UNITED STATES OF AMERICA
Vv. Case Number 2-CR. 11-245
CARLOS JUAN REYES
Defendant.
JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, CARLOS JUAN REYES , was represented by Joseph A. Ferrante, Esq.

The defendant pled guilty to count(s) 1 of the information on APRIL 13,2011. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense(s):

Count
Title & Section Nature of Offense Date of Offense Number(s)
21 USC 846 Conspiracy to Distribute and Possess with Intent to In or about Dec. 1
Distribute 100 Grams or more of Heroin. 2009 through March
25, 2010

As pronounced on MAY 21, 2012, the defendant is sentenced as provided in pages 2 through 5 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

Itis ordered that the defendant shall pay to the United States a special assessment of $100, for count(s) 1, which shall be
due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, ormailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully
paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
defendant’s economic circumstances.

Signed this the 29 day of MAY , 2012.

are

LD /
DICKINSON R. DEBEVOISE
Senior United States District Judge

Case 2:11-cr-00245-CCC Document 37 Filed 05/21/12 Page 2 of 6 PagelD: 48

AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment

Judgment — Page 2 of 5
Defendant: CARLOS JUAN REYES

Case Number: 2-CR. 11-245
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
33 Months.

The defendant shall remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

Defendant delivered on To
At _ with a certified copy of this Judgment.

United States Marshal

By

Deputy Marshal
Case 2:11-cr-00245-CCC Document 37 Filed 05/21/12 Page 3 of 6 PagelD: 49

AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release

Judgment — Page 3 of 5
Defendant: CARLOS JUAN REYES
Case Number: 2-CR. 11-245

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 4 years.

Within 72 hours of release from. custody of the Bureau of Prisons, the defendant shall report in person to the Probation
Office in the district to which the defendant is released.

While on supervised release, the defendant shall comply with the standard conditions that have been adopted by this court
as set forth below.

The defendant shail submit to one drug test within 15 days of commencement of supervised release and at ieast two tests
thereafter as determined by the probation officer.

if this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and shall comply with the following special conditions:

ALCOHOL/DRUG TESTING AND TREATMENT

You shall refrain from the illegal possession and use of drugs, including prescription medication not prescribed in your
name, and the use of alcohol, and shall submit to urinalysis or other forms of testing to ensure compliance. It is further
ordered that you shall submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by the U.S.
Probation Office. You shall abide by the rules of any program and shall remain in treatment until satisfactorily discharged
by the Court. You shall alert all medical professionals of any prior substance abuse history, including any prior history of
prescription drug abuse. The Probation Officer shall supervise your compliance with this condition.
Case 2:11-cr-00245-CCC Document 37 Filed 05/21/12 Page 4 of 6 PagelD: 50

AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release

Judgment — Page 4 of 5

Defendant: CARLOS JUAN REYES
Case Number: 2-CR. 11-245

13)

14)

15)

16)

(17)

(18)

STANDARD CONDITIONS OF SUPERVISED RELEASE
While the defendant is on supervised release pursuant to this Judgment:
The defendant shall not commit another federal, state, or local crime during the term of supervision.
The defendant shall not illegally possess a controlled substance.
If convicted of a felony offense, the defendant shall not possess.a firearm or destructive device.
The defendant shall not leave the judicial district without the permission of the court or probation officer.
The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer.
The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
other acceptable reasons.

The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment.

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any
narcotic or other controlled substance, or any paraphernalia related to such substances.

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view by the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement.

You shall cooperate in the collection of DNA as directed by the Probation Officer.

(This standard condition would apply when the current offense or a prior federal offense is either a felony, any offense under
Chapter 109A of Title 18 (i.e., §§ 2241-2248, any crime of violence [as defined in 18 U.S.C. § 16], any attempt or conspiracy
to commit the above, an offense under the Uniform Code of Military Justice for which a sentence of confinement of more than
one year may be imposed, or any other offense under the Uniform Code that is comparable to a qualifying federal offense);

Upon request, you shall provide the U.S. Probation Office with full disclosure of your financial records, including co-mingled
income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the financial accounts
reported and noted within the presentence report, you are prohibited from maintaining and/or opening any additional individual
and/or joint checking, savings, or other financial accounts, for either personal or business purposes, without the knowledge
Case 2:11-cr-00245-CCC Document 37 _ Filed 05/21/12 Page 5 of 6 PagelD: 51

AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release

Judgment — Page 5 of 5
Defendant: CARLOS JUAN REYES
Case Number: 2-CR. 11-245

and approval of the U.S. Probation Office. You shall cooperate with the Probation Officer in the investigation of your financial
dealings and shall provide truthful monthly statements of your income. You shall cooperate in the signing of any necessary
authorization to release information forms permitting the U.S. Probation Office access to your financial information and records;

(19) As directed by the U.S. Probation Office, you shall participate in and complete any educational, vocational, cognitive or any
other enrichment program offered by the U.S. Probation Office or any outside agency or establishment while under supervision,

(20) You shall not operate any motor vehicle without a valid driver’s license issued by the State of New Jersey, or in the state in
which you are supervised. You shall comply with all motor vehicle laws and ordinances and must report all motor vehicle
infractions (including any court appearances) within 72 hours to the U.S. Probation Office;

Upon a finding of a violation of probation or supervised release, | understand that the Court may (1) revoke
supervision or (2) extend the term of supervision and/or modify the conditions of supervision.

These conditions have been read to me. | fully understand the conditions, and have been provided a copy of
them.

of his associate Probation Officers.
(Signed)

Defendant Date

| |
| |
| |
| |
| |
: You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any :
| |
| |
| |
| |
| |
Case 2:11-cr-00245-CCC Document 37 _ Filed 05/21/12 Page 6 of 6 PagelD: 52
AO 245B (Rev. 09/08) Judgment in a Criminal Case
Attachment (Page 1) — Statement of Reasons

DEFENDANT: CARLOS JUAN REYES
CASE NUMBER: 2-CR. 11-245
DISTRICT: District of New Jersey

STATEMENT OF REASONS

(Not for Public Disclosure)
| COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A we The court adopts the presentence investigation report without change.

B [J The court adopts the presentence investigation report with the following changes.
(Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if
applicable.) (Use page 4 if necessary.)

Oo Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level, or specific offense
characteristics):

2 [] Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments, role in the
offense, obstruction of justice, multiple counts, or acceptance of responsibility):

3 [] Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
scores, career offender, or criminal livelihood determinations):

4 [] Additional Comments or Findings (including comments or factual findings concerning certain information in the presentence report
that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation, or programming decisions):

C [ _ The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

Il COURT FINDING ON MANDATORY MINIMUM SENTENCE = (Check ail that apply.)

A No count of conviction carries a mandatory minimum sentence.

BQ Mandatory minimum sentence imposed.

Cc Ww One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the sentence
imposed is below a mandatory minimum term because the court has determined that the mandatory minimum does not apply based on

[] findings of fact in this case
[] substantial assistance (18 U.S.C. § 3553(e))

i the statutory safety valve (18 U.S.C. § 3553(f))

Ili COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Total Offense Level: 25
Criminal History Category: |

Imprisonment Range: 57 to 71 months
Supervised Release Range: 4 to 5 years
Fine Range: $10,000 to $2,000,000

v Fine waived or below the guideline range because of inability to pay.
